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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORIGA
                        NEWNAN DIVISION

RITA MEEKS, INDIVIDUALLY
AND AS ADMINISTRATRIX OF    CIVIL ACTION NO.:
THE ESTATE OF ALAN HEMBREE,

      PLAINTIFFS,                       Notice of Removal of Action under
                                        28 U.S.C § 1441(b) [Diversity
V.                                      Jurisdiction] and
                                        28 U.S.C § 1446(c) [Bad Faith]
ROBERT LYNN NEWCOMB,
CELADON TRUCKING SERVICES,              Demand for Jury Trial
INC., and WABASH NATIONAL
CORPORATION,

      DEFENDANTS.


                           NOTICE OF REMOVAL

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

      PLEASE TAKE NOTICE THAT Defendant Wabash National Corporation

(“Defendant” or “Wabash”) hereby removes the action described below from the

Superior Court of Carroll County, Georgia, to the United States District Court for

The Northern District of Georgia, Newnan Division, pursuant to 28 U.S.C. §§ 1332,

1441 and 1446. As grounds for this removal, Wabash states as follows:




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             RELEVANT FACTS AND PROCEDURAL HISTORY

     A. Parties

1.     On September 25, 2015, Plaintiff initiated this wrongful death action, styled

       as Rita Meeks, individually and as Administratrix of the Estate of Alan

       Hembree v. Eulus Holber Keown, Jr., Robert Lynn Newcomb, Celadon

       Trucking Services, Inc. and Wabash National Corporation, Case No. 15-

       CV-01044 (“the Superior Court Action”), by filing her “Complaint for

       Damages” (“the Meeks Complaint”) in the Superior Court of Carroll

       County, Georgia. (See Meeks Complaint, attached hereto as Exhibit “A”.)

2.     Plaintiff is, and at all relevant times has been, a citizen of the State of

       Georgia. (Id., ¶ 1.)

3.     Plaintiff named as Defendants in the Superior Court Action (a) the foreign

       corporations Wabash and Celadon Trucking Services, Inc. (“Celadon”); and

       (b) the individual defendants Eulus Holbert Keown, Jr. (“Keown”) and

       Robert Lynn Newcomb (“Newcomb”). (Id.)




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4.      Wabash is a Delaware corporation with its principal place of business in

        Lafayette, Indiana. (Id., ¶¶ 10-11; see also Wabash Incorporation Records,

        attached hereto as composite Exhibit “B”.)1

5.      Celadon is a New Jersey corporation with its principal place of business in

        Indianapolis, Indiana.   (Ex. A, ¶¶ 5-6; see also Celadon Incorporation

        Records, attached hereto as composite Exhibit “C”.)

6.      Keown is a resident of the State of Georgia who resides in Carrollton,

        Georgia. (Ex. A, ¶ 2.)

7.      Newcomb is a resident of the State of Virginia. (Id., ¶ 3.)

8.      Thus, at the time Plaintiff initiated the Superior Court Action, Keown was

        the only non-diverse named Defendant.

     B. Plaintiff’s Allegations Against Defendants

        i. Claims Against the Diverse Defendants (Celadon, Newcomb & Wabash)

9.      The Meeks Complaint arose out of an auto accident (“the Subject Accident”)

        that occurred on November 13, 2012 at approximately 10:25 p.m. on

        Interstate-20 Westbound. (Ex. A, ¶ 20.)
1
  The Court may take judicial notice of documents publicly filed with State
corporation divisions, such as the Georgia Secretary of State. E.g., Allstate Ins. Co.
v. Estate of Robert M. Levesque, CIV.A. No. 8:08-CV-2253, 2010 WL 2978037, at
*1 (July 19, 2010) (citing Greenwood v. Compucredit Corp., 617 F. Supp.2d 980,
983 (N.D. Cal. 2009) (taking judicial notice of a corporation’s annual registration
filed with the Georgia Secretary of State)).
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10.   The Subject Accident resulted in the death of Plaintiff’s son, Alan Hembree

      (“Hembree”). (Id., ¶ 23.)

11.   The Subject Accident involved a car being driven by Hembree, a Celadon

      tractor being driven by Newcomb, and a trailer that Wabash sold to Celadon

      which was attached to the Celadon tractor. (Id., ¶¶ 9, 20, 28-52.)

12.   As to Celadon and Newcomb, Plaintiff alleged that Newcomb “suddenly and

      without warning attempted to merge into” the lane of traffic occupied by

      Hembree, causing Hembree to collide with the underride guard on the rear of

      the trailer. (Id., ¶¶ 21-22.)

13.   As to Wabash, Plaintiff alleged that it manufactured the underride guard

      with which Hembree collided and, further, that the underride guard failed

      due to certain design and manufacturing defects. (Id., ¶¶ 22, 43-52.)

14.   As to Celadon and Newcomb, Plaintiff asserted claims for negligence and

      wrongful death. (Id., Counts 2-3 & unnumbered Count 5.)

15.   As to Wabash, Plaintiff asserted claims for products liability and wrongful

      death. (Id., Count 4 & unnumbered Count 5.)

      ii. Claims Against the Removal Spoiling Defendant (Keown).

16.   Keown—the only non-diverse Defendant—was not involved in the Subject

      Accident. (Id., ¶¶ 15-19.)

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17.     Rather, Keown was involved in a separate, earlier accident (“the Earlier

        Accident”) on Interstate-20 Westbound, which occurred more than seven (7)

        hours before the Subject Accident. (Id.)

18.     Plaintiff alleged that Keown caused the Earlier Accident and, further, that

        such accident “caused the far two right lanes of I-20 westbound traffic to be

        closed for several hours.” (Id.)

19.     Plaintiff alleged that, “in response to [this] hazard created by [Keown],

        [Newcomb] . . . attempted to merge into the far left lane [occupied by

        Hembree] in avoidance of the partial road closure.” (Id., ¶ 21.)

20.     Plaintiff alleged that Keown’s negligence in causing the Earlier Accident—

        more than seven (7) hours before the Subject Accident—directly and

        proximately caused Hembree’s death. (Id., ¶¶ 24-27.)

21.     Plaintiff asserted claims for negligence and wrongful death against Keown.

        (Id., Count 1 & unnumbered Count 5.)

      C. Relevant Procedural History

22.     On October 22, 2015, Keown filed his Answer to the Meeks Complaint.

        (Keown Answer, attached hereto as Exhibit “D”.)

23.     On the same day, Celadon and Newcomb filed their Answer. (Celadon &

        Newcomb Answer, attached hereto as Exhibit “E.”)

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24.   Wabash filed its Answer on November 17, 2015. (Wabash Answer, Exhibit

      “F”.)

      i. Pursuit of Discovery from the Diverse Defendants (Celadon, Newcomb
         and Wabash).

25.   On November 11, 2015, Plaintiff served Newcomb and Celadon with written

      discovery requests, consisting of Requests for Admission, Interrogatories

      and Requests for Production of Documents. On May 5, 2016, Plaintiff

      served Celadon with its Second Continuing Interrogatories and Requests for

      Production of Documents.      (Plaintiff’s Discovery Requests to Celadon,

      attached hereto as composite Exhibit “G”.)

26.   December 7, 2015, Plaintiff served Wabash with written discovery requests,

      consisting of Requests for Admission, Interrogatories and Requests for

      Production of Documents.      (Plaintiff’s Discovery Requests to Wabash,

      attached hereto as composite Exhibit “H”.)

27.   During discovery, Plaintiff noticed the deposition of Newcomb three times,

      once on January 28, 2016, another time on June 1, 2016, and a third time on

      November 11, 2016. Plaintiff noticed the 30(b)(6) deposition of Celadon’s

      Safety Director on November 11, 2016. (Notices of Deposition to Celadon

      Defendants, attached hereto as composite Exhibit “I”.)


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28.   Plaintiff also twice noticed the 30(b)(6) deposition of a Wabash designee,

      once on May 3, 2016, and again on November 11, 2016. (Notices of

      Deposition to Wabash, attached hereto as Exhibit “J”.)

      ii. Pursuit of Discovery from the Removal-Spoiling Defendant (Keown).

29.   Plaintiff did not serve Keown with any written discovery requests in the

      Superior Court Action. (Declaration of Joseph A. White, attached hereto as

      Exhibit “K”, at ¶ 13.)2

30.   Plaintiff did not notice Keown’s deposition during discovery in the Superior

      Court Action. (Id., ¶ 14.)

31.   Indeed, Plaintiff did not seek any discovery regarding the Earlier Accident

      during the Superior Court Action—either from Keown, the other parties to

      the Earlier Accident, or the law enforcement personnel that investigated and

      cleared the Earlier Accident. (Id., ¶¶ 15-16 & Ex. 4.)

      iii. Amount in Controversy.

32.   The Meeks Complaint does not specify the amount of damages that Plaintiff

      seeks to recover for the alleged wrongful death of Hembree. (See generally

      Ex. A.)


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 In addition to the pleadings, the Court may consider supplemental materials, like
affidavits, in evaluating a notice for removal. Legg v. Wyeth, 428 F.3d 1317, 1322
(11th Cir. 2005).
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33.   On April 22, 2016, however, Plaintiff sent counsel for the diverse

      Defendants (Celadon, Newcomb and Wabash) a letter demanding $2.5

      million dollars in settlement of Plaintiff’s claims. (Ex. K, ¶ 6 & Ex. 1.)

      iv. Voluntary Dismissal of the Removal Spoiling Defendant (Keown).

34.   On November 4, 2016—four hundred six (406) days after the complaint was

      filed—Plaintiff’s counsel sent defense counsel an email with a draft consent

      motion and order for voluntary dismissal of her claims against Keown, with

      prejudice. (Ex. K, ¶ 7 & Ex. 2.)

35.   On November 15, 2016, Plaintiff moved to voluntary dismiss her claims

      against Keown with prejudice.           (Consent Motion for Dismissal with

      Prejudice, attached hereto as Exhibit “L.”)

36.   On December 5, 2016, the Superior Court of Carroll County entered an

      Order dismissing Keown with prejudice. (Order, attached hereto as Exhibit

      “M”.)

37.   Wabash received notice of the Order dismissing Keown, via the Court’s

      electronic filing system, on the same day it was entered. (Ex. K, ¶ 10 & Ex.

      3.)

38.   Keown did not pay any funds to Plaintiff in consideration of the dismissal

      with prejudice. (Id. K, ¶ 17.)

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39.   As of December 5, 2016, when the Superior Court of Carroll County

      dismissed Keown, the only remaining Defendants are Celadon, Newcomb

      and Wabash, all of whom are completely diverse from Plaintiff within the

      meaning of 28 U.S.C. §§ 1332, 1441 and 1446.

                         GROUNDS FOR REMOVAL

40.   A defendant may remove any state court civil action for which the District

      Courts of the United States have original jurisdiction to the federal district

      court encompassing the place in which the action is pending. 28 U.S.C. §

      1441(a).

41.   Pursuant to 28 U.S.C. § 1332, this Court has original jurisdiction over this

      case by reason of diversity of citizenship and the amount in controversy,

      which exceeds $75,000, exclusive of interests and costs.

42.   While a defendant ordinarily may not remove a case on grounds of diversity

      more than one year after the initiation of the action, that limitation does not

      apply when the plaintiff has acted in bad faith in order to prevent removal.

      28 U.S.C. § 1446(c)(l)).

43.   As shown below, Wabash is entitled to remove, and timely removes, the

      Superior Court Action to this court because Plaintiffs joined and kept Keown

      in the case in bad faith in order to thwart removal of this Action to federal

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      court. Accordingly, removal is not barred by the one-year limitation set forth

      in 28 U.S.C. § 1446(c)(l), due to Plaintiffs’ bad-faith efforts to prevent

      removal.

      A. Complete Diversity of Citizenship Exists

44.   Code Section 28 U.S.C. § 1332(a) requires complete diversity of citizenship

      between the plaintiff and the defendants. “[D]iversity jurisdiction does not

      exist unless each defendant is a citizen of a different State from each

      Plaintiff.” Owen Equip. & Erection Co. v. Kroger, 437 U.S. 365, 373

      (1978).

45.   “For diversity purposes, a corporation is a citizen of both the state where it is

      incorporated and the state where it has its principal place of business.”

      MacGinnitie v. Hobbs Grp., LLC, 420 F.3d 1234, 1239 (11th Cir. 2005)

46.   “A case becomes removable once the non-diverse defendant is formally

      dismissed from the case.”     Noyes v. Universal Underwriters Inc. Co., 3 F.

      Supp.3d 1356, 1363 (M.D. Fla. 2014) (citing Maseda v. Honda Motor Co.,

      Ltd., 861 F.2d 1248, 1252 (11th Cir. 1988)) (“[N]ondiverse defendant must

      be formally dismissed from the case to permit a subsequent removal…”).




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47.   As of the date of this Notice, complete diversity of citizenship exists

      between Plaintiff and the remaining Defendants Celadon, Newcomb and

      Wabash.

48.   Plaintiff is a Georgia citizen. (Ex. A, ¶ 1.)

49.   For diversity purposes, Celadon is a citizen of Indiana and New Jersey. (Ex.

      A, ¶¶ 5-6 & Ex. C.)

50.   Newcomb is a citizen of the State of Virginia. (Id., ¶ 3.)

51.   For diversity purposes, Wabash is a citizen of Delaware and Indiana. (Ex. A

      ¶¶ 10-11 & Ex. B.)

52.   Thus, Plaintiff and the remaining Defendants (Celadon, Newcomb and

      Wabash) are all completely diverse.

      B. The Amount in Controversy Exceeds $75,000.00.

53.   Documents that demonstrate a plaintiff’s own estimation of a claim’s value

      are a proper means of supporting the allegations in a notice of removal. See,

      e.g., Lowery v. Alabama Power Co., 483 F.3d 1184, 1212 n. 62 (11th Cir.

      11th Cir. 2007) (noting that federal courts consider items such as settlement

      offers and emails estimating damages when evaluating whether the amount

      in controversy requirement is met); McPhail v. Deere & Co., 529 F.3d 947,

      956 (10th Cir. 2008) (explaining that the district court can properly consider,

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      for purposes of removal, correspondence in which plaintiff's counsel

      acknowledges that the value of the claim may exceed $75,000).

54.   This is a wrongful death action. (Ex. A, unnumbered Count 5.)

55.   The jurisdictional amount in controversy is satisfied because Plaintiff has

      indicated she is seeking damages in excess of $75,000, exclusive of interest

      and costs, as exhibited by her letter to the diverse Defendants (Celadon,

      Newcomb and Wabash) demanding $2.5 million dollars in settlement of her

      claims. (Ex. K, ¶ 6 & Ex. 1.)

      C. Wabash’s Notice of Removal is Timely.

56.   Code Section 28 U.S.C. § 1446(b)(3) states that “[e]xcept as provided in

      subsection (c), if the case stated by the initial pleading is not removable, a

      notice of removal may be filed within 30 days after receipt by the defendant,

      through service or otherwise, of a copy of an amended pleading, motion,

      order or other paper from which it may first be ascertained that the case is

      one which is or has become removable.” 28 U.S.C.A. § 1446(b)(3).

57.   The Superior Court of Carroll County entered its Order dismissing Keown

      on December 5, 2016. (Ex. M.)

58.   Wabash received a copy of that Order on December 5, 2016. (Ex. K, ¶ 10 &

      Ex. 3.)

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59.   Upon the Superior Court’s entry of the Order of dismissal, complete

      diversity existed between Plaintiff and remaining Defendants. Maseda 861

      F.2d at 1252; Noyes, 3 F. Supp.3d at 1363.

60.   Wabash timely files its Notice of Removal within thirty (30) days of its

      receipt of the Order of dismissal. 28 U.S.C.A. § 1446(b)(3).

      D. The One-Year Limitation on Removal Does Not Apply Because
         Plaintiff Engaged in Bad Faith.

61.   Code Section 28 U.S.C. § 1446(c)(1) provides that a “case may not be

      removed under subsection (b)(3) on the basis of jurisdiction conferred by

      section 1332 more than 1 year after commencement of the action, unless the

      district court finds that the plaintiff has acted in bad faith in order to prevent

      a defendant from removing the action.” 28 U.S.C. § 1446(c)(l) (emphasis

      added).

62.   “In Georgia, an action is commenced when the complaint is filed.”

      Cameron v. Teeberry Logistics, LLC, 920 F. Supp.2d 1309, 1312 (N.D. Ga.

      2013) (citations omitted).

63.   Here, although Wabash files this Notice of Removal more than one year

      after Plaintiff commenced the Superior Court Action (on September 25,

      2015), its Notice is nevertheless timely because Plaintiff joined Keown in

      bad faith in order to destroy complete diversity. (Ex. A.)
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      ii. Legal Standard for “Bad Faith” Under Section 1446(c)(1).

64.   “Historically, a case could be removed to federal court at any time if

      diversity jurisdiction arose.” Higgins v. Philadelphia Indemnity Ins. Co.,

      CIV.A. No. 16-CV-0564, 2016 WL 6304740, at *1 (N.D. Okla. Oct. 27,

      2016) (citing Aguayo v. AMCO Ins. Co., 59 F. Supp.3d 1225, 1269 (D. N.M.

      2014)).

65.   In 1988, Congress added a one-year limit to removal based on diversity

      jurisdiction “‘as a means of reducing the opportunity for removal after

      substantial progress has been made in state court.’” Id. (citations omitted).

66.   In 2011, Congress “amended the one-year limitation to include ‘a limited

      exception, authorizing district courts to permit removal after the 1-year

      period if the district court finds that the plaintiff has acted in bad faith in

      order to prevent a defendant from removing the action.’” Id. (citations

      omitted).

67.   Congress added the exception “to prevent plaintiffs from joining non-diverse

      parties . . . solely to prevent a defendant from removing to federal court.”




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      Heacock v. Rolling Frito-Lay Sales, LP, CIV.A. No. C16-0829-JCC, 2016

      WL 4009849, at *2 (W.D. Wash. July 27, 2016) (citations omitted).3

68.   Thus, effective January 6, 2012, Code Section 1446(c)(1) recognizes the

      right of a defendant to remove an action kept out of federal court for more

      than one-year because of a plaintiff’s bad faith conduct.       28 U.S.C. §

      1446(c)(1).

69.   The comments to the amendment to Section 1446 indicate that is intended to

      apply in situations such as the following:

      A plaintiff with the motive of defeating removal, for example, may be
      able to join as a defendant, in a case in which there is genuine
      diversity between the plaintiff and the other defendants, someone of
      nondiverse citizenship whom the plaintiff does not really intend to sue
      but who is arguably liable on the claim and hence properly joined
      under state law. The plaintiff can then just wait a year and drop that
      party, polishing the action to just the point desired and at the same
      time dissolving the threat of federal jurisdiction.

      Comments to 28 U.S.C. § 1446 (emphasis added); see also Tedford v.

      Warner-Lambert Co., 327 F.3d 423, 427 (5th Cir. 2003) (“Congress may
3
  The amendment to 28 U.S.C. § 1446(c)(l) was a codification of the majority view
among federal courts, which held that a plaintiff was estopped by its own bad faith
from asserting the one-year limitation. See, e.g., Wilson v. General Motors Corp.,
888 F.2d 779, 781 (11th Cir.1989) (holding that one-year bar to removal under
former 28 U.S.C. § 1446(c) was “procedural” and “does not require federal courts
to remand such cases to the state courts”); Harris Corp. v. Kollsman, Inc., 97 F.
Supp. 2d 1148, 1151 (M.D. Fla. 2000) (“absent a finding of waiver or estoppel,
federal courts rigorously enforce the statute's thirty-day filing requirement”)
(emphasis added).
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      have intended to limit diversity jurisdiction, but it did not allow plaintiffs to

      circumvent it altogether. Strict application of the one-year limit would

      encourage plaintiffs to join nondiverse defendants for 366 days simply to

      avoid federal court, thereby undermining the very purpose of diversity

      jurisdiction.”).

70.   Case law interpreting Section 1446(c)(1)’s “bad faith” exception is not well-

      developed, either in this judicial circuit or elsewhere. Noyes v. Universal

      Underwriters Ins. Co., 3 F. Supp.3d 1356, 1362 (M.D. Fla. 2014) (noting

      that “[t]here is little case law interpreting subsection (c)” of Code Section 28

      U.S.C. § 1446); Cameron, 920 F. Supp.2d at 1316 (“Following the 2011

      amendment to § 1446(c), few cases have analyzed whether a plaintiff has

      acted in bad faith . . .”); see also, e.g., Heller v. American States Ins. Co.,

      CIV.A. No. 15-9771 DMG, 2016 WL 1170891, at *3 (C.D. Cal. March 26,

      2016) (“The Ninth Circuit has yet to address the applicable standard for the

      bad faith exception under section 1446(c).”); Comer v. Schmitt, CIV.A. No.

      2:15-CV-2599, 2015 WL 5954589, at *2 (S.D. Ohio Oct. 14, 2015) (“The

      Sixth Circuit has not clearly defined the meaning of ‘bad faith’ in the

      statute.”); Shorraw v. Bell, CIV.A. No. 4:15-CV-03998-JMC, 2016 WL

      3586675, at *5 (D. S.C. July 5, 2016) (“In the Court of Appeals for the

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      Fourth Circuit, what constitutes bad faith under § 1446(c)(1) is a developing

      standard.”).

71.   The leading case analyzing Section 1446(c)(1)’s “bad faith” exception is

      Aguayo v. AMCO Ins. Co., 59 F. Supp.3d 1225 (D. N.M. 2014). In Aguayo,

      the United States District Court for the Northern District of New Mexico

      (after a lengthy and thorough analysis) articulated the following two-part test

      for determining whether a plaintiff engaged in “bad faith” within the

      meaning of Section 1446(c)(1):

      The Court interprets the bad-faith exception—which is only two years
      old and which no court has yet comprehensively construed—to
      require an inquiry into whether the plaintiff kept a removal-spoiling
      party in the case only for the purpose of preventing removal. The
      Court construes this inquiry to entail a two-step standard. First, the
      Court assesses whether the plaintiff actively litigated its case against
      the removal spoiler in state court. A finding that the plaintiff did not
      actively litigate against the removal spoiler constitutes bad faith, and
      the Court will retain jurisdiction over the case. If, on the other hand,
      the Court finds that the plaintiff actively litigated against the removal
      spoiler, that finding creates a rebuttable presumption that the plaintiff
      acted in good faith. Second, the defendant may rebut the good-faith
      presumption, with evidence already in the defendant's possession, that
      the plaintiff kept the removal spoiler in the case to defeat removal; the
      defendant will not, however, receive discovery or an evidentiary
      hearing in federal court to obtain such evidence.

      Aguayo, 59 F. Supp. 3d at 1228–29 (emphasis added); accord Forth v.

      Diversey Corp., CIV.A. No. 13-CV-808-A, 2013 WL 6096528, at *3 (W.D.

      N.Y. Nov. 20, 2013) (“‘[B]ad faith “may be overt or may consist of inaction
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      . . . [such as] lack of diligence and slacking off.”’”) (alterations in original)

      (citations omitted).

72.   Numerous district courts have looked to, and applied, the two-part Aguayo

      test in determining whether a plaintiff engaged in “bad faith” within the

      meaning of Section 1446(c)(1). See, e.g., Bristol v. Ford Motor Co., CIV.A.

      No. 4:16-CV-01649-JAR, 2016 WL 6277198, at *3-4 (E.D. Mo. Oct. 27,

      2016); Heacock, 2016 WL 4009849, at *3-4.

73.   Other district courts “have found bad faith where the ‘plaintiff engaged in

      strategic gamesmanship to prevent a defendant’s removal from state court.’”

      See, e.g., Heller, 2016 WL 1170891, at *3 (quoting Ehrenreich v. Black, 994

      F. Supp.2d 284, 288 (E.D. N.Y. 2014)); Shorraw, 2016 WL 3586675, at *5

      (“Despite lacking a definitive test for bad faith, Fourth Circuit district courts

      routinely evaluate bad faith under § 1446(c)(1) by determining whether

      plaintiffs engaged in forum manipulation specifically to prevent removal.”)

      (citations omitted); see also Tedford, 327 F.3d at 427 (in decision that

      preceded 2011 amendment to Section 1446(c)(1), stating that “forum

      manipulation justifies application of an equitable exception to” predecessor

      statute).




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74.   Regardless of the standard applied, the analysis is essentially the same:

      “federal courts that have examined the new language [of § 1446(c)(1)] agree

      that the issue is whether the plaintiff engaged in intentional conduct to deny

      the defendant the chance to remove.” Hiser v. Seay, CIV.A. No. 5:14-CV-

      170, 2014 WL 6885433, at *4 (W.D. Ky. Dec. 5, 2014) (citations omitted);

      accord Comer, 2015 WL 5954589, at *2 (same).

75.   “Bad faith, for the purposes of § 1446(c)(1), need not amount to malicious or

      unsavory conduct.” Comer, 2015 WL 5954589, at *4. Rather, “[t]o find

      bad faith, the Court need only determine that Plaintiffs engaged in

      intentional action or inaction that prevented [the removing defendant] from

      otherwise properly filing for removal before the expiration of the one year

      period.” Id.; see also Hiser, 2014 WL 6885433, at *4 (“The crux of the

      amendment to the statutory language is whether the Plaintiffs intentionally

      took actions to prevent Defendants from removing the case to federal

      court.”)

76.   District courts ascertain a plaintiff’s intent by examining the manner in

      which the plaintiff conducted the litigation against the removal-spoiling




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      defendant.4 E.g., Heller 2016 WL 1170891, at *2–3 (denying plaintiff’s

      motion to remand where plaintiff did not actively litigate claims against

      removal-spoiling defendant in that she did not serve the defendant with a

      summons for more than one year); Hiser, 2014 WL 6885433, at *4 (denying

      plaintiff’s motion to remand where plaintiff admittedly waited to settle

      claims against removal-spoiling defendant until more than one (1) year after

      case was initiated); Forth, 2013 WL 6096528, at *3 (denying plaintiff’s

      motion to remand where plaintiff agreed to dismiss removal-spoiling

      defendant but delayed doing so, sought no discovery from that defendant,

      and offered inconsistent explanations for delaying dismissal of defendant);

      Comer, 2015 WL 5954589, at *4 (denying plaintiff’s motion to remand upon

      finding that plaintiff deliberately delayed consummating settlement with

      removal-spoiling defendant in order to prevent removal); In re: Asbestos

      Products Liability Litigation (No. VI), MDL Docket No. 875, 2016 WL

      4264193, at *3 (E.D. Pa. Aug. 11, 2016) (denying plaintiff’s motion to

      remand where plaintiff did not seek discovery from removal-spoiling

      defendant and voluntarily dismissed defendant more than one year after


4
  Forth, 2013 WL 6096528, at *3 (“‘Since it would be extraordinary for a party to
directly admit a “bad faith” intention, his motive must of necessity be ascertained
from circumstantial evidence.’”) (citations omitted).
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      filing suit); Lawson v. Parker Hannifin Corp., CIV.A. No. 4:13–CV–923–O,

      2014 WL 1158880, at *4–6 (N.D. Tex. Mar. 20, 2014) (denying plaintiff’s

      motion to remand where plaintiff did not actively litigate claims against

      removal-spoiling defendant in that she failed to serve him with discovery

      requests or notice his deposition, failed to seek default judgment when he

      failed to timely answer complaint, and nonsuited the defendant shortly after

      expiration of one (1) year bar on removal to federal court).

77.   Here, Plaintiff’s bad faith is demonstrated by the manner in which she

      joined, pursued her claims against, and ultimately voluntarily dismissed the

      removal-spoiling Defendant, Keown (with no payment from him).

78.   First, Plaintiff joined Keown as a Defendant in the Superior Court Action

      despite the fact that he was not even involved in the Subject Accident; rather,

      he was alleged to have caused an Earlier Accident that occurred more than

      seven (7) hours before and which, in turn, was alleged to have somehow

      caused or contributed to the Subject Accident and to Hembree’s death.5 (Ex.

      A.)

5
  Although this fact is highly suggestive of fraudulent joinder or misjoinder, see,
e.g., Tapscott v. MS Dealer Service Corp., 77 F.3d 1353, 1360 (11th Cir. 1996),
abrogated on other grounds by Cohen v. Office Depot, 204 F.3d 1069 (11th Cir.
1990), Wabash does not allege, and need not establish, that Plaintiff fraudulently
joined or mis-joined Keown in order to invoke Section 1446(c)(1)’s bad faith
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79.   Second, Plaintiff did not “actively litigate” her claims against Keown.

80.   Whereas Plaintiff served written discovery requests on the diverse

      Defendants (Celadon, Newcomb and Wabash) in the Superior Court Action,

      Plaintiff did not serve Keown with any written discovery, and let the fact

      discovery deadline expire as to that Defendant. (Exs. G, H & K, ¶¶ 12-13.)

81.   Whereas Plaintiff noticed the depositions of the diverse Defendants

      (Celadon, Newcomb and Wabash), Plaintiff did not notice or take Keown’s

      deposition before voluntary dismissing him from the case. (Exs. I, J, & K,

      ¶¶ 12, 14.)

82.   Whereas Plaintiff hired experts to support her claims of liability against the

      diverse Defendants, Plaintiff disclosed no such expert as to Keown. (Ex. K,

      ¶¶ 15-16 & Ex. 4.)

83.   Indeed, Plaintiff never sought or obtained any discovery concerning the

      Earlier Accident from any party or nonparty—neither Keown, the other

      parties to the Earlier Accident, or the law enforcement personnel who

      investigated and cleared that Accident. (Id., ¶¶ 17-18 & Ex. 5.)


exception. See, e.g., Heller, 2016 WL 1170891, at *2 (“The bad faith exception, as
distinct from the doctrine of fraudulent joinder, applies to ‘plaintiffs who joined—
and then, after one year, dismissed—defendants [whom] they could keep in the
suit, but that they did not want to keep in the suit, except as removal spoliers.’”)
(quoting Aguayo, 59 F. Supp.3d at 1266).
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84.   In other words, Plaintiff took no steps to even appear to be ready to go to

      trial against Keown and could not prove that Keown was responsible in any

      way for Plaintiff’s damages.

85.   Third, Plaintiff voluntarily dismissed her claims against Keown (with

      prejudice) for no consideration, demonstrating her lack of intent to actually

      obtain a judgment against or any recovery from Keown. (Ex. K, ¶ 19; see

      also Exs. L & M.)

86.   Plaintiff could not have brought her claims against Keown for any other

      legitimate, strategic reason—like, for example, “to pressure the removal

      spoiler to testify on the plaintiff’s behalf against [the] other defendants”—

      because, here, the removal spoiler, Keown, was not even involved in the

      Subject Accident and, therefore, had no information to offer regarding the

      other, diverse Defendants. Aguayo, 59 F. Supp.3d at 1229.

87.   Moreover, such an argument would be belied by the fact that Plaintiff did

      not actually seek any discovery from Keown in the Superior Court Action.

      Forth, 2013 WL 6096528, at *3 (“[P]laintiff’s unsworn explanation—

      namely that ‘more discovery was required in order to verify the accuracy of

      [removal-spoiling defendant’s pre-Answer representations’. . .            –is




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       contradicted by the fact that plaintiffs did not obtain any further discovery

       [such defendant] before dismissing it.”) (emphasis in original).

88.    Fourth, the timing of Plaintiff’s voluntary dismissal of Keown reflects that

       Plaintiff joined Keown merely to prevent removal. Plaintiff announced her

       intent to voluntary dismiss Keown four-hundred-six (406) days after she

       initiated the Superior Court Action, or approximately forty (40) days after

       the one-year deadline for removal ran. (Ex. K, ¶ 7 & Ex. 2.) Plaintiff

       formally moved to voluntary dismiss her claims against Keown, with

       prejudice, a short time later. (Ex. L.)

89.    In sum, the record demonstrates that Plaintiff joined and kept Keown in the

       Superior Court Action in “bad faith” in order to prevent Defendants from

       removing the action. 28 U.S.C. § 1446(c)(1).

      WABASH HAS COMPLIED WITH ALL REMOVAL PROCEDURES

90.    Wabash has complied with the procedural requirements for removal set forth

       in 28 U.S.C. § 1446.

91.    As noted above, in accordance with 28 U.S.C. § 1446(b)(3), Wabash filed

       this notice of removal within 30 days of Wabash’s receipt of the first

       pleadings from which it could be ascertained that the instant action was

       removable - specifically, the Order dismissing Keown with prejudice.

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92.   The United States District Court, Northern District of Georgia, Newnan

      Division, encompasses Carroll County, Georgia, the county from which this

      case is removed, and thus is the proper venue to which to remove this action

      pursuant to 28 U.S.C. § 1441(a).

93.   Pursuant to 28 U.S.C. § 1446(a), this Notice of Removal is signed pursuant

      to Rule 11 of the Federal Rules of Civil Procedure.

94.   Pursuant to 28 U.S.C. § 1446(a), this Notice of Removal is accompanied by

      all process, pleadings, and orders served upon Wabash in the removed

      action.

95.   Pursuant to 28 U.S.C. § 1446(b)(2)(A), the remaining Defendants Celadon

      and Newcomb consent to the removal of the removed action. (Ex. K, ¶ 21 &

      Ex. 6.)

96.   Pursuant to 28 U.S.C. § 1446(d), promptly upon filing this Notice of

      Removal, Wabash will provide written notice of this Notice of Removal to

      Plaintiff and Co-Defendants Celadon and Newcomb, and file a copy of this

      Notice with the Clerk of the Superior Court of Carroll County, Georgia.




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     Respectfully submitted this 9th day of December, 2016.

                                           FRIED & BONDER LLC

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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORIGA
                        NEWNAN DIVISION

RITA MEEKS, INDIVIDUALLY
AND AS ADMINISTRATRIX OF    CIVIL ACTION NO.:
THE ESTATE OF ALAN HEMBREE,

      PLAINTIFFS,                      Notice of Removal of Action under
                                       28 U.S.C § 1441(b) [Diversity
V.                                     Jurisdiction] and
                                       28 U.S.C § 1446(c) [Bad Faith]
ROBERT LYNN NEWCOMB,
CELADON TRUCKING SERVICES,             Demand for Jury Trial
INC., and WABASH NATIONAL
CORPORATION,

      DEFENDANTS.


                        CERTIFICATE OF SERVICE

      I certify that I have served the forgoing NOTICE OF REMOVAL upon

opposing counsel by depositing a copy of same in the U.S. MAIL, postage prepaid

and addressed to:

            Matthew E. Cook                    Christopher J. Adams
          Cook Law Group, LLC                 Kenneth S. Nugent, P.C.
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    Attorneys for Robert Lynn Newcomb and Celadon Trucking Services, Inc.

      This 9th day of December, 2016.

                                             FRIED & BONDER LLC

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